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                                                       THE HONORABLE JOHN C. COUGHENOUR
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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9    KAREN D. SMITH,                                      CASE NO. C19-0538-JCC
10                           Plaintiff,                    MINUTE ORDER
11            v.

12    THE BANK OF NEW YORK MELLON FKA
      THE BANK OF NEW YORK, AS TRUSTEE
13    FOR THE BENEFIT OF THE CERTIFICATE
      HOLDERS OF THE CWABS INC., ASSET-
14
      BACKED CERTIFICATES, SERIES 2007-SD1,
15    et al.,

16                           Defendants.

17

18          The following Minute Order is made by direction of the Court, the Honorable John C.

19   Coughenour, United States District Judge:

20          This matter comes before the Court on the parties’ stipulated motion for leave to file a

21   second amended complaint (Dkt. No. 43). Pursuant to Federal Rule of Civil Procedure 15(a)(2),

22   the stipulated motion is granted. No later than August 9, 2019, Plaintiff shall file a non-redlined

23   copy of the second amended complaint (Dkt. No. 43-1). No later than August 30, 2019,

24   Defendants shall file their answers to the second amended complaint. Future case captions

25   should change the name of Defendant New Penn Financial LLP, d/b/a Shellpoint Mortgage

26   Servicing, LLC to NewRez LLC fka New Penn Financial LLC dba Shellpoint Mortgage


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 1   Servicing.

 2          DATED this 6th day of August 2019.

 3                                               William M. McCool
                                                 Clerk of Court
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                                                 s/Tomas Hernandez
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                                                 Deputy Clerk
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     MINUTE ORDER
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